          Case 5:19-cv-00224-JM Document 49 Filed 11/09/20 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               PINE BLUFF DIVISION

DONALD BEST,                                                                       PLAINTIFF
ADC #151745

v.                                  5:19CV00224-JM-JTK

BRENT COX, et al.                                                              DEFENDANTS

                                        JUDGMENT

       Pursuant to the Order entered in this matter on this date, it is Considered, Ordered, and

Adjudged that this case is DISMISSED with prejudice.

       IT IS SO ADJUDGED this 9th day of November, 2020.



                                            _________________________________
                                            JAMES M. MOODY, JR.
                                            UNITED STATES DISTRICT JUDGE




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